 Case 14-37842                Doc 155           Filed 12/27/21 Entered 12/27/21 09:44:36                                  Desc Main
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                                      UNITED STATES BANKRUPTCY COURT
                                       NORTHERN DISTRICT OF ILLINOIS


 IN RE:                                                                                                         CASE NO.: 14-37842
                                                                                                                     CHAPTER 13
                       Marnie Beilin,

                              Debtor.

 _________________________________/

                           TRANSFER OF CLAIM OTHER THAN FOR SECURITY

A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee
hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other
than for security, of the claim referenced in this evidence and notice.

U.S. Bank Trust National Association, not in its                       Community Loan Serviving, LLC
individual capacity but solely as owner trustee for                    Name of Transferor
RCF 2 Acquisition Trust c/o U.S. Bank Trust
National Association
Name of Transferee


Name and Address where notices to Transferee                           Court Claim # (if known): 14-1
should be sent:                                                        Amount of Claim: 122,203.15
Selene Finance, LP                                                     Date Claim Filed: 3/11/2015
9990 Richmond Ave. Suite 400 South Attn: BK
Dept
Houston TX 77042

Phone:                                                                 Phone: 1-866-243-5851
Last Four Digits of Acct #: 4618                                       Last Four Digits of Acct #: 



Name and Address where Transferee payments
should be sent (if different from above):
Selene Finance, LP
9990 Richmond Ave. Suite 400 South Attn: BK Dept
Houston TX 77042

Phone:
Last Four Digits of Acct #: 4618


I declare under penalty of perjury that the information provided in this notice is true and correct to the
best of my knowledge and belief.

By: /s/Pinju Chiu                                                      Date: 11/23/2021

Transferee/Transferee’s Agent


Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
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                                 CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on                     December 27,2021                      ,I
electronically filed the foregoing with the Clerk of Court using the CM/ECF system, and a true and
correct copy has been served via United States Mail to the following:

MARNIE BEILIN
308 W FRONTAGE ROAD
UNIT C
NORTHFIELD, IL 60093

And via electronic mail to:

-867,156725(5
LAW OFFICE OF WILLIAM J. FACTOR, LTD.
105 W. MADISON ST., SUITE 1500
CHICAGO, IL 60602

THOMAS H. HOOPER
OFFICE OF THE CHAPTER 13 TRUSTEE
55 E. MONROE ST., SUITE 3850
CHICAGO, IL 60603

PATRICK S LAYNG
OFFICE OF THE U.S. TRUSTEE, REGION 11
219 S DEARBORN ST                     By: /s/ Jewel Daniels-Knight
ROOM 873
CHICAGO, IL 60604
